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 7

 8                                   UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         No. CR. S-09-436 MCE

12                      Plaintiff,                     AMENDED STIPULATION AND ORDER
                                                       TO ALLOW MR. KHAN TO TRAVEL TO
13          v.                                         PAKISTAN

14   MOHAMMAD NASIR KHAN , et. al.,
15                      Defendants.
16

17          IT IS HEREBY STIPULATED AND AGREED between the defendant, Mohammad

18   Nasir Khan, by and through his defense counsel, Bruce Locke, and the United States of America

19   by and through its counsel, Assistant U.S. Attorney John Vincent, that the defendant should be

20   allowed to travel to Pakistan at or around September 24, 2014 and to return to the United States at

21   or about January 21, 2015. The reason for the trip is to attend the marriage of his son.

22          The reason for the amended Stipulation and Proposed Order is that the original stipulation

23   contained a typographical error to the effect that Mr. Khan was authorized to leave the United

24   States at or around September 15, 2011 rather than 2014. Additionally, when Mr. Khan went to

25   purchase his ticket, he was only able to get tickets that allowed him to fly to Pakistan on

26   September 24, 2014 and return to the United States on January 21, 2015.

27          Mr. Khan has served his four months confinement and has been on supervised release for

28   approximately one year. He has paid all of the restitution ordered by the Court. The extended
                                                      1
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 1   length of the trip is necessary because this is an arranged marriage and requires more time than
 2   just attending a ceremony.
 3           Mr. Khan’s supervising Probation Officer does not object to allowing Mr. Khan to make
 4   this trip. Mr. Vincent has authorized Mr. Locke to sign this Stipulation for him and to file the
 5   same.
 6
     DATED: August 25, 2014                        /S/ Bruce Locke
 7                                                 BRUCE LOCKE
                                                   Attorney for Mohammad Nasir Khan
 8

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11
     DATED: August 25, 2014                         /S/ Bruce Locke
12                                                 For JOHN VINCENT
                                                   Attorney for the United States
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             IT IS HERBY ORDERED that Mohammad Nasir Khan is authorized to travel to Pakistan
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17   between September 24, 2014 and January 21, 2015 to attend the wedding of his son. Mr. Khan is

18   ordered to check in with his probation officer within 2 days of his return to the United States.

19   Dated: August 25, 2014
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